                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )       No.3:18-CR-158
V.                                                  )       (Reeves/Poplin)
                                                    )
                                                    )
ANTHONY STOKES                                      )



                       ORDER OF TEMPORARY DETENTION
                PENDING HEARING PURSUANT TO BAIL REFORM ACT


              The defendant appeared before the undersigned for an initial appearance and

arraignment hearing on indictment. Assistant United States Attorney Frank Dale, Jr. was present

representing the government. Attorney Ruth Thompson Ellis was present on behalf of the

Defendant. Counsel for the government moved for detention, and the defendant requested a

detention hearing. The Court scheduled a Detention Hearing on November 29, 2018, at 3:00

p.m. before United States Magistrate Debra C. Poplin. The defendant acknowledged and

agreed that he would remain in detention. The defendant shall be held in custody by the United

States Marshal until the detention hearing, and produced for the above scheduled hearing.

              ENTER:


                                     s/Debra C. Poplin
                                     Debra C. Poplin
                                     UNITED STATES MAGISTRATE JUDGE




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